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‘Le

UNITED STATES DISTRICT COURT E

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EASTERN DISTRICT OF MICHIGAN . £13 20g
SOUTHERN DIVISION Ug EARS OF Figg
EASTERN hae COURT
UNITED STATES OF AMERICA, Case No. 16-CR-20439 AN
Plaintiff, Hon. Matthew F. Leitman
Vv. : Offense: Structuring Financial
Transactions (31 U.S.C. § 5324)
CYNTHIA FLOWERS,
Maximum Penalty: 5 years
Defendant. .

Maximum Fine: $250,000 or twice the
amount of gross financial gain.

Maximum Supervised Release: 3 years

 

 

RULE 11 PLEA AGREEMENT

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant
Cynthia Flowers and the government agree as follows:
l, Guilty Plea

A. Count of Conviction

Defendant will enter a plea of guilty to Count One of the Information, which

charges her with structuring financial transactions, in violation of 31 U.S.C. §

5324.
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B. Elements of Offense

The elements of Count One are as follows:

1. That the defendant caused or attempted to cause a domestic
financial institution to fail to file a report under section 5313(a) or
5325 or any regulation prescribed under any such section, to file a
report or to maintain a record as described in 5324(a)(1) and/or

2. To structure or assist in structuring, or attempt to structure or assist
in structuring, any transaction with one or more domestic financial
institutions as described in 5324(a)(3).

C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant’s guilty

plea:

On multiple occasions from August of 2010 through June of 2013, Cynthia
Flowers purchased money orders at different U.S. Post Offices (USPO) in the
Metro Detroit area using cash totaling $3,000 or more at a single post office. On
those occasions, the U.S. Postal Service (USPS) was required under Title 31 of
the United States Code to report the cash transactions to the U.S. Department of
Treasury since they involved $3,000 or more in currency. To fulfill the
reporting requirement, the post office completed and filed a Funds Transaction

Report (Form 8105-A) with information from the purchaser.
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FLOWERS’s pattern of purchasing USPS money orders changed starting in
March of 2013 and continuing through May of 2015. During that time, there
were multiple occasions when FLOWERS used $3,000 or more in cash to
purchase money orders within days of one another, or on the same day but at
different USPOs to ensure that no one USPO received $3,000 or more on the
same day.

In total, FLOWERS purchased 168 money orders totaling $154,700 during
the above period and structured her purchases in the above described manner,
which was designed to evade currency transaction reporting requirements.

2. Sentencing Guidelines

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range

There are no sentencing guideline disputes. Except as provided below, the

defendant’s guideline range is 18 - 24 months, as set forth on the attached
worksheets. If the Court finds:
| | 1. That defendant’s criminal history category is higher than reflected
on the attached worksheets, or
2. that the offense level should be higher because, after pleading

guilty, defendant made any false statement to or withheld
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information from her probation officer; otherwise demonstrated a

lack of acceptance of responsibility for her offense; or obstructed

justice or committed any crime,
and if any such finding results in a guideline range higher than 18 — 24 months, the
higher guideline range becomes the agreed range. However, if the Court finds that
defendant is a career offender, an armed career criminal, or a repeat and dangerous
sex offender as defined under the sentencing guidelines or other federal law, and
that finding is not already reflected in the attached worksheets, this paragraph does
not authorize a corresponding increase in the agreed range.

Neither party may take a position concerning the applicable guidelines that is
different than any position of that party as reflected in the attached worksheets,
except as necessary to the Court’s determination regarding subsections 1) and 2),
above.

3. Sentence

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing
so must consider the sentencing guideline range.

A. Imprisonment |

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range

as determined by Paragraph 2B.
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B. Supervised Release

A term of supervised release follows the term of imprisonment. The Court
must impose a term of supervised release, which in this case is 3 years. The
agreement concerning imprisonment described above in Paragraph 3A does not
apply to any term of imprisonment that result from any later revocation of
supervised release.

C. Special Assessment

Defendant will pay a special assessment of $100.00 at the time of sentencing.

D. Fine

There is no agreement as to fines.

E. Restitution

Restitution is not applicable to this case.

4, Use of Withdrawn Guilty Plea

If the Court allows defendant to withdraw her guilty plea for a “fair and just
reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), defendant waives her rights under
Fed. R. Evid. 410, and the government may use her guilty plea, any statement made
under oath at the change-of-plea hearing, and the factual basis statement in this plea

agreement, against her in any proceeding.
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5. Each Party’s Right to Withdraw from This Agreement

The government may withdraw from this agreement if the Court finds the
correct guideline range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw her guilty
plea, if the Court decides to impose a sentence higher than the maximum allowed
by Paragraph 3. This is the only reason for which defendant may withdraw from
this agreement. The Court shall advise defendant that if she does not withdraw her
guilty plea under this circumstance, the Court may impose a sentence greater than
the maximum allowed by Paragraph 3.
6. Appeal Waiver

The defendant waives any right she may have to appeal her conviction on any
grounds. If the sentence imposed does not exceed the maximum allowed by
Paragraph 3 of this agreement, the defendant also waives any right she may have to
appeal her sentence on any grounds. If the defendant’s sentence of imprisonment is
at least 18 months, the government waives any right it may have to appeal the
defendant’s sentence.

Nothing in this waiver bars a claim of ineffective assistance of counsel on

appeal or by Collateral Relief under 28 U.S.C. § 2255.
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7. Consequences of Withdrawal of Guilty Plea or Vacation of Conviction

If defendant is allowed to withdraw her guilty plea(s) or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s
request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against defendant within six months after the date the
order vacating defendant's conviction or allowing her to withdraw her guilty plea(s)
becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty plea(s) or to any conduct reflected in the attached worksheets, defendant
waives her right to challenge the additional charges on the ground that they were
not filed in a timely manner, including any claim that they were filed after the
limitations period expired.

8. Parties to Plea Agreement

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.

9. Scope of Plea Agreement

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes all other
promises, representations, understandings and agreements between the parties

concerning the subject matter of this plea agreement that were made at any time
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before the guilty plea is entered in court. Thus, no oral or written promises made by
the government to defendant or to the attorney for the defendant at any time before
defendant pleads guilty are binding except to the extent they have been explicitly
incorporated into this agreement.

Notwithstanding the previous paragraph, if defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any
such prior written agreement.

This agreement also does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United States

or any other party.
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10. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on 07/08/2016. The government

reserves the right to modify or revoke this offer at any time before defendant pleads

 

 

guilty.

Barbara L. McQuade

United States Attorney

John K. Neal Abed Hammoud

Assistant United States Attorney Assistant United States Attorney

Chief, White Collar Crimes
Date: 06/09/2016

By signing below, defendant acknowledges that she has read (or been read) this
entire document, understands it, and agrees to its terms. She also acknowledges that
she is satisfied with her attorney’s advice and representation. Defendant agrees that
she has had a full and complete opportunity to confer with her lawyer, and has had

all of ron by her lawyer.
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Allison Foliar Gyathia Flowers

 

 

Attorney for Defendant efendant
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le Jif lle Jue 11, 2016
Date Date
_ Case 2:16-cr-20439-MFL-DRG ECF No.5 filed 07/13/16 PagelD.19 Page 10 of 16
WORKSHEET A_(Offense Levels)

Defendant: Cynthia Flowers Count(s): 1

 

 

Docket No: 16-20439 Statute(s): 31 U.S.C. § 5324

 

 

Complete one Worksheet A for each count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count
of conviction) before applying the multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts of con-viction, if the
counts of conviction are all “closely related” to each other within the meaning of U.S.S.G, § 3D1.2(d), complete only a single Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

 

 

Guideline Section Description Levels
251.3(a)(2) Structuring monetary transactions 8
2B1.1(b)(1)(F) Loss: Over $150,000 less $250,000 10

 

 

 

 

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description Levels

 

 

 

 

 

3. ADJUSTED OFFENSE LEVEL

 

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does not cover every count
of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count of 1 8
conviction), complete one or more additional Worksheets A and a single Worksheet B.

 

 

 

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If this is the only Worksheet A, check this box and skip Worksheet B.

DX] Ifthe defendant has no criminal history, check this box and skip Worksheet C.

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WORKSHEET C_(Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated
offenses):

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months (U.S.S.G. §§ 4Al.1(a)): © 3 POINTS

Enter 3 points for each prior adult sentence of imprisonment exceeding one year and one month that either (1) was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account relevant conduct and stipulated offenses) or (2) resulted in the
defendant’s confinement during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1), (e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days (U.S.S.G. §§ 4A1.1(b)): 2 POINTS

Enter 2 points for each prior sentence of imprisonment of at least 60 days not counted under U.S.S.G. § 4A1.1(a) that either (1) resulted
from an offense committed after the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant
offense (taking into account relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b), 4A1.2(e)(2)) or (2) resulted from an
offense committed before the defendant turned 18 and resulted in the defendant’s confinement during any part of the 5-year period
preceding the defendant’s commencement of the instant offense (see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences (U.S.S.G. §§ 4A1.1(c)): 1 POINT

Enter | point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or (b) that either (1) resulted from an offense committed after
the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense committed before the
defendant tumed 18 and was imposed within 5 years of the defendant’s commencement of the instant offense (taking into account relevant
conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this

item.
Date of Release
Imposition Status* Offense Sentence Date** Points

 

* Ifthe defendant committed the offense before turning 18, indicate whether he or she was sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only three situations: {1} when a sentence covered under U.S.S.G. § 4A1.1(a) was imposed more than 15 years
before the defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in his or her
confinement during any part of that 15-year period; (2) when a sentence counted under U.S.S.G. § 4A1.1(b) was imposed for an offense committed
before the defendant turned 18 but resulted in his or her confinement during any part of the 5-year period preceding his or her commencement of the
instant offense (taking into account relevant conduct and stipulated offenses); and (3) when 2 criminal history points are added pursuant to U.S.S.G.
§ 4A1.1(e) because the defendant committed the instant offense (taking into account relevant conduct and stipulated offenses) shortly after or during
imprisonment resulting from a sentence counted under U.S.S.G. § 4A1.1(a) or (b) or while he or she was on escape status for such a sentence.

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(WORKSHEET C, p. 2)

COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE (U.S.S.G. §
4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
while under any criminal justice sentence having a custodial or supervisory component, including probation, parole, supervised release,
imprisonment, work release, and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of control and identify the
sentence from which it resulted.

 

 

 

 

 

COMMISSION OF INSTANT OFFENSE SHORTLY AFTER OR DURING IMPRISONMENT
(U.S.S.G. § 4A1.1(e))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
either less than 2 years after release from imprisonment on a sentence counted under U.S.S.G. §§ 4A1.1(a} or 4A1.1(b) or while in
imprisonment or escape status on such a sentence. However enter, only 1 point for this item if2 points were added under Item 2, (See
U.S.S.G, §§ 4A1.1(e), 4A1.2(n).) List the date of release and identify the sentence from which it resulted.

 

 

 

 

 

PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(f))

Enter | point for each prior sentence resulting ftom a conviction for a crime of violence that did not receive any points under U.S.S.G. §
4A]1.1(a), (b), or (c) because such sentence was considered related to another sentence resulting from a conviction for a crime of violence.
But enter no points where the sentences are considered related because the offenses occurred on the same occasion. (See U.S.S,.G. §§
4A1.1(f}, 4A1.2(p).) Identify the crimes of violence and briefly explain why the cases are considered related. NOTE: No more than 3
points may be added under this item.

 

 

 

 

 

 

TOTAL CRIMINAL HISTORY POINTS

 

Enter the sum of the criminal history points entered in Items 1-4. 0

 

 

 

CRIMINAL HISTORY CATEGORY

Total Criminal History Points Criminal History Category

 

I
Il I
Ul
IV
2 Vv

VI

 

 

 

o-
2-
4-
7-
10-
2

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1
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WORKSHEET D_ (Guideline Range)

(COMBINED) ADJUSTED OFFENSE LEVEL

Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level
entered in Item 8 of Worksheet B.

ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)

TOTAL OFFENSE LEVEL

Enter the difference between Items | and 2.

CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the criminal history category
entered in Item 6 of Worksheet C.

CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.S.S.G. ch. 4, pt. B)

a. Total Offense Level: If the career offender provision (U.S.S.G. § 4B1.1), the criminal livelihood provision
(U.S.S.G. § 4B1.3), or the armed career criminal provision (U.S.S.G. § 4B1.4) results in a total offense
level higher than the total offense level entered in Item 3, enter the higher offense level total.

b. Criminal History Category: If the career offender provision (U.S.S.G. § 4B1.1) or the armed career criminal

provision (U.S.S.G. § 4B 1.4) results in a criminal history category higher than the criminal history category
entered in Item 4, enter the higher criminal history category.

GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)

Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by the total
offense level entered in Item 3 or 5.a and the criminal history category entered in Item 4 or 5.b.

STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

If the maximum sentence authorized by statute is below, or a minimum sentence required by statute
is above, the guideline range entered in Item 6, enter cither the guideline range as restricted by
statute or the sentence required by statute. (See U.S.S.G. § 5GI.1.) If the sentence on any count of

conviction is required by statute to be consecutive to the sentence on any other count of conviction, explain why.

 

 

18

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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WORKSHEET E (Authorized Guideline Sentences)

1. PROBATION (U.S.S.G. ch. 5, pt. B)

a.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

Probation is authorized by the guidelines (minimum of guideline range = zero months).

Probation is authorized by the guidelines, provided the court imposes a condition or combination of »

conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but < 6 months).

Length of Term of Probation (U.S.S.G. § 5B1.2)

At least | year but not more than 5 years (total offense level > 6).

No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.S.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(c)(2), (d)(2))

 

 

 

 

 

 

 

 

a.

A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The court

may impose a sentence of imprisonment that includes a term of supervised release with a condition
that substitutes community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is |, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Item 4.b

3. IMPRISONMENT (U.S.S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)

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(WORKSHEET E, p. 2)

4, SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a.

 

 

 

 

 

 

 

 

 

 

 

 

Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)

The court must impose a term of supervised release if it imposes a term of imprisonment of more than
one year, or if it is required to do so by statute. The court may impose a term of supervised release if
it imposes a term of imprisonment of one year or less.

Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

At least 3 years but not more than 5 years, where the count of conviction is a Class A or a Class B
felony, i.e., an offense carrying a maximum term of imprisonment > 25 years.

At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
felony, i.e., an offense carrying a maximum term of imprisonment > 5 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.e., an offense
carrying a maximum term of imprisonment > 6 months but < 5 years.

The statute of conviction requires a minimum term of supervised release of months.
Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

5. RESTITUTION (U.S.S.G. § 5E1.1)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The court will determine whether restitution should be ordered and in what amount.

Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g., 18
U.S.C. §§ 3663A, 2327.) The parties agree that full restitution is $_ TBD

The parties agree that the court may order restitution to the victim(s) of the offense(s) of conviction in
any amount up to and including $ . (See 18 U.S.C. §§ 3663(a)(3).)

The parties agree that the court may a/so order restitution to persons other than the victim(s) of the
offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663 A(a)(3).)

Restitution is not applicable.

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(WORKSHEET E, p. 3)

FINE (U.S.S.G. § 5E1.2)

a. Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.S.G. § 5E1.2(a).) Generally, the fine authorized by the
guidelines is limited to the range established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § SE1.2(b), (c)(4).)

b. Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine
$7,500 $75,000

SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
$ 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a special assessment or special assessments in the total amount of $ __$100.00_.

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range.

 

 

 

(rev. 06/99)
